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JS 44 (Rev. 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the fling, and service of pleadings or other papers as a ai by law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the United States in
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

eptember 1974, is required for the use of the Clerk of Court for the

 

brBBu Pension Und et al

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Yelephone Number)
Susan A. Murray, Esq. - Freedman & Lorry, P.C

1601 Market St., Suite 1500, Philadelphia, PA 19103
smurray@freedmanlorry.com, (215) 931-2506

Union County

NNS'Management, Inc.

County of Residence of First Listed Defendant

(IN US. PLAINTIFF CASES ONLY) 7

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

NOTE;

Attorneys (if Known)

 

 

I]. BASIS OF JURISDICTION (Place an "X" in One Box Only)

II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “NX” in One Box for Plaintiff

a1

U.S, Government
Plaintiff

O02. U.S. Government
Defendant

43> Federal Question

(U.S. Government Not a Party)

O 4 Diversity

(Indicate Citizenship of Parties in Item III)

 

IV. NATURE OF SUIT (Place an "“X" in One Box Only)

(For Diversity Cases Only)

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State a1 O 1 Incorporated or Principal Place o4 o4
of Business In This State
Citizen of Another State OG 2 © 2 Incorporated and Principal Place os o8
of Business In Another State
Citizen or Subject of a O 3 O 3 Foreign Nation 06 O46

Foreign Country

 

Click here for: Nature of Suit Code Descriptions.
OTHER STATUTES ]

 

 

 

 

 

{ CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY
0 110 Insurance PERSONAL INJURY PERSONAL INJURY {0 625 Drug Related Seizure © 422 Appeal 28 USC 158 © 375 False Claims Act
O 120 Marine 0 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |O 423 Withdrawal O 376 Qui Tam (31 USC
O 130 Miller Act 0 315 Airplane Product Product Liability © 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability © 367 Health Care/ © 400 State Reapportionment
3 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights 0 430 Banks and Banking
O15] Medicare Act © 330 Federal Employers’ Product Liability O 830 Patent 0 450 Commerce
1 152 Recovery of Defaulted Liability O 368 Asbestos Personal © 835 Patent - Abbreviated O 460 Deportation
Student Loans 3 340 Marine Injury Product New Drug Application [0 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability O 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY. © 480 Consumer Credit
of Veteran's Benefits 0 350 Motor Vehicle © 370 Other Fraud O 710 Fair Labor Standards O 861 HIA (139566) © 490 Cable/Sat TV
© 160 Stockholders’ Suits 0 355 Motor Vehicle © 371 Truth in Lending Act O 862 Black Lung (923) O 850 Securities/Commodities/
© 190 Other Contract Product Liability © 380 Other Personal O 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations © 864 SSID Title XV1 © 890 Other Statutory Actions
© 196 Franchise Injury © 385 Property Damage © 740 Railway Labor Act 865 RSI (405(g)) © 891 Agricultural Acts

© 362 Personal Injury -
Medical Malpractice

Product Liability

 

REAL PROPERTY

CIVIL RIGHTS

PRISONER PETITIONS

 

© 210 Land Condemnation

© 220 Foreclosure

O 230 Rent Lease & Ejectment
© 240 Torts to Land

© 245 Tort Product Liability
© 290 All Other Real Property

 

0 440 Other Civil Rights

O 441 Voting

O 442 Employment

0 443 Housing/
Accommodations

O 445 Amer, w/Disabilities -
Employment

O 446 Amer. w/Disabilities -
Other

0 448 Education

Habeas Corpus:
0 463 Alien Detainee
G 510 Motions to Vacate
Sentence
© 530 General
© 535 Death Penalty
Other:
© 540 Mandamus & Other
© 550 Civil Rights
© $55 Prison Condition
O $60 Civil Detainee -
Conditions of

 

Confinement

© 751 Family and Medical
Leave Act

O 790 Other Labor Litigation

(% 791 Employee Retirement
Income Security Act

© 893 Environmental Matters
© 895 Freedom of Information

 

FEDERAL TAX SUITS

Act

 

 

IMMIGRATION

 

 

© 462 Naturalization Application
© 465 Other Immigration
Actions

 

© 870 Taxes (U.S. Plaintiff
or Defendant)
871 IRS—Third Party

26 USC 7609

O 896 Arbitration

O 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

O 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X" in One Box Only)

!

Original
Proceeding

O 2 Removed from
State Court

0 3

Remanded from o4

Appellate Court

Reinstated or © 5 Transferred from © 6 Multidistrict O18 Multidistrict
Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do aot cite jurisdictional statutes unless diversity):

29 1132 and 1145

VI, CAUSE OF ACTION

Brief description of cause:

 

VIL REQUESTED IN O CHECK IF THIS IS A CLASS ACTION

Collection of contractually obligated contributions owed to the benefit funds

DEMAND § CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes No
VILL RELATED CASE(S)
IF ANY a mmeN. JUDGE DOCKET NUMBER
DATE SY H / | S GNATURE OF ATTORNEY OF RECORD
08/20/2019 ys Mn
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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 2:19-cv-16921-KM-ESK Document1 Filed 08/20/19 Page 2 of 12 PagelD: 2

FREEDMAN AND LORRY, P.C.

BY: SUSAN A. MURRAY, ESQUIRE
(SM-7713)

1601 Market Street, 15" Floor
Philadelphia, PA 19103

(215) 931-2506

Attorneys for Plaintiffs

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

ITPEU PENSION FUND, by and through its
Board of Trustees, Co-Chairmen DENNIS
ARRINGTON and JERRY BOWDEN

216 North Ave. East, 2"? Fl.

Cranford, NJ 07016

and

ITPEU ANNUAL BENEFIT FUND, by and
Through its Board of Trustees, Co-Chairmen
DENNIS ARRINGTON and JOHN MORGAN
216 North Ave., East, 2"¢ Fl.

Cranford, NJ 07016

and

ITPEU HEALTH AND WELFARE FUND, by and :

Through its Board of Trustees, Co-Chairmen
DENNIS ARRINGTON and HAROLD E.
GELBER
25 Chatham Center South, Suite 100
Savannah, GA 31405

Plaintiffs,

V.

NMS MANAGEMENT, INC.
155 W. 35" Street, Suite A
National City, CA 91950

and

PENTAD CORPORATION
8925 W. Post Road, Suite 210
Las Vegas, NV 89148
Defendants.

CIVIL ACTION
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COMPLAINT
Plaintiffs, by undersigned counsel, complain about Defendants as follows:
JURISDICTION
1. This Court has jurisdiction over the subject matter of this action under LMRA 29
U.S.C, §185(a), ERISA 29 U.S.C. § 1132 and 29 U.S.C. §1145 and the pendent jurisdiction of the
Court.
2. A copy of this Complaint has been served on the Secretary of Labor and the

Secretary of Treasury of the United States by certified mail.

VENUE
3. Venue lies in the United States District Court for the District of New Jersey under
29 U.S.C. §§ 185(a) or 1132(e)(2).
PARTIES

4, Plaintiff, ITPEU Pension Fund by and through its Board of Trustees, Co-Chairmen
Dennis Arrington and Jerry Bowden (“Pension Fund”) is a trust fund established under 29 U.S.C.
§ 186(c)(5) and “multiemployer plans” and “Employee benefit plans” within the meaning of 29
U.S.C. § 1002(37), (2), and (3). Dennis Arrington and Jerry Bowden are trustees and fiduciaries
with respect to the Pension Fund within the meaning of 29 U.S.C.§ 1002 (21). They are authorized
to bring this action on behalf of all Trustees of the Pension Fund. The Pension Fund is
administered in the District of New Jersey, at the address listed in the caption.

5. Plaintiff, ITPEU Annual Benefit Fund by and through its Board of Trustees, Co-
Chairmen Dennis Arrington and John Morgan (“Annual Fund”) is a trust fund established under
29 U.S.C. § 186(c)(5) and “multiemployer plans” and “Employee benefit plans” within the

meaning of 29 U.S.C. § 1002(37), (1), and (3). Dennis Arrington and John Morgan are trustees
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and fiduciaries with respect to the Annual Fund within the meaning of 29 U.S.C.§ 1002 (21). They
are authorized to bring this action on behalf of all Trustees of the Annual Fund. The Annual Fund
are administered in the District of New Jersey, at the address listed in the caption.

6. Plaintiff, ITPEU Health and Welfare Fund by and through its Board of Trustees,
Co-Chairmen Dennis Arrington and Harold E. Gelber (“Welfare Fund” hereinafter, with Plaintiffs
collectively called the “Funds”) is a trust fund established under 29 U.S.C. § 186(c)(5) and
“multiemployer plans” and “Employee benefit plans” within the meaning of 29 U.S.C. § 1002(37),
(1), and (3). Dennis Arrington and Harold E. Gelber are trustees and fiduciaries with respect to
the Welfare Fund within the meaning of 29 U.S.C.§ 1002 (21). They are authorized to bring this
action on behalf of all Trustees of the Welfare Fund. The Welfare Fund is administered at the
address listed in the caption.

7. Defendant NMS Management, Inc. is an employer in an industry affecting
commerce with the meaning of 29 U.S.C. §§ 152 (2), (6) and (7), 1002(5), (11) and (12) with a
business address as listed in the caption.

8. Defendant Pentad Corporation is an employer in an industry affecting commerce
with the meaning of 29 U.S.C. §§ 152 (2), (6) and (7), 1002(5), (11) and (12) which is registered
in Las Vegas, Nevada with a registered agent located at the address listed in the caption.
Defendants NMS Management, Inc. and Pentad Corporation will be hereinafter referred to as the
“Employer” or “Defendants”.

FACTS

 

9. At all times relevant to this action, the Defendants were party to a collective
bargaining agreement(s) with the ITPEU, OPIEU Local 4873, AFL-CIO (singly or jointly, “Labor

Contract”). Pursuant to the terms of the contract, the Defendants identified themselves as a single
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entity for purposes of the Labor Contract, identifying themselves as “Company”. A true and
correct copy of the Labor Contract is hereto attached as Exhibit “1.”

10. The Employer also signed or agreed to abide by the terms of the Declaration of
Trust for each of the Funds as from time to time amended (“Trust Agreements”), creating the
Funds, made between certain employers and employee representatives in an industry affecting
interstate commerce to promote stable and peaceful labor relations.

11. Under the Labor Contract or Trust Agreement, the Employer agreed:

(a) To make full and timely payments on a monthly basis to the Funds;

(b) To file monthly remittance reports with the Funds detailing all employees
or work for which contributions were required under the Labor Contract or Trust Agreement;

(c) To produce, upon request by the Funds, all books and records deemed
necessary to conduct an audit of the Employer’s corporate records concerning its obligations to
the Funds; and

(d) To pay interest and liquidated damages and all costs of litigation, including
attorneys’ fees, expended by the Funds to collect any amounts due as a consequence of the
Employer’s failure to comply with its contractual obligations described in Subparagraphs (a), (b)
and (c).

12. The Employer failed to submit contributions and remittance reports to the Pension
Fund for April 2019, May 2019, June 2019, and July 2019 for the AntiSubmarine Warfare facility,
San Diego Navy bases, and Lemoore Naval Air Bases. Based upon the monthly contributions
made in previous months, the Employer owes the Pension Fund an estimated amount of $18,400.00
in contributions for the months of April 2019, May 2019, June 2019, and July 2019 for the three

bases, plus liquidated damages, interest for this time period, and ongoing interest.
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' 13. The Employer paid contributions to the Pension Fund late for the months of
December 2018, January 2019, February 2019, and March 2019 accruing interest in the amount of
$606.16 which is outstanding. Interest was calculated from the date payment of the contribution
was due to the date of actual payment. A breakdown of the accrued interest due to the Pension
Fund is attached as Exhibit ‘2.’

14. The Employer failed to submit contributions and remittance reports to the Annual
Fund for June 2019 and July 2019 for the Lemoore, CA facility. Based upon the monthly
contributions made in previous months, the Employer owes the Annual Fund an estimated amount
of $5,000.00 in contributions for the months of June 2019 and July 2019, plus liquidated damages,
interest for this time period, and ongoing interest.

15. | The Employer paid contributions to the Annual Fund late for the months of April
2019 and May 2019 accruing interest in the amount of $32.12 which is outstanding. Interest was
calculated from the date payment of the contribution was due to the date of actual payment.

16. The Employer failed to submit contributions and remittance reports to the Welfare
Fund for June 2019 and July 2019 for the Lemoore, CA and San Diego, CA facilities. Based upon
the monthly contributions made in previous months, the Employer owes the Health and Welfare
Fund an estimated amount of $43,100.00 in contributions for the months of June 2019 and July
2019, plus liquidated damages, interest for this time period, and ongoing interest.

17. Employer paid contributions to the Welfare Fund late for the months of February
2019, March 2019, April 2019, and May 2019 accruing interest in the amount of $2,046.39 which
is outstanding. Interest was calculated from the date payment of the contribution was due to the
date of actual payment. True and correct copies of interest letters sent to the Employer from the

Welfare Fund is attached as Exhibit ‘3.’
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18. On July 2, 2019, Fund Counsel sent a demand letter to the Employer on behalf of
the Pension Fund. The Employer did not respond to the letter, On July 15, 2019, Fund Counsel
sent a second notice demand letter to the Employer on behalf of the Pension Fund. The Employer
did not respond to the letter. On July 30, 2019, Fund Counsel sent a final notice demand letter on
behalf of the Pension Fund. The letters demanded payment within ten days of the date of the letter.
To date, the Pension Fund has not received payment of the outstanding contributions or the
corresponding remittance reports. A true and correct copy of the July 2, 2019 letter is hereto
attached as Exhibit ‘4.’ A true and correct copy of the July 15, 2019 letter is hereto attached as
Exhibit ‘5.’ A true and correct copy of the July 30, 2019 letter is hereto attached as Exhibit ‘6.’

COUNT I
CONTRIBUTIONS UNDER CONTRACT — SUM CERTAIN

19. The allegations of Paragraphs | through 18 are incorporated by reference as if fully
restated.

20. | The Employer owes the Pension Fund an estimated amount of at least $18,400.00,
due under the Labor Contract in contributions.

21. The Employer owes the Pension Fund the sum of $606.16 in interest demanded but
not paid for the months of December 2018, January 2019, February 2019, and March 2019.

22. | The Employer owes the Annual Fund an estimated amount of at least $5,000.00,
due under the Labor Contract in contributions.

23. The Employer owes the Annual Fund the sum of $32.12 in interest demanded but
not paid for the months of April 2019 and May 2019.

24. The Employer owes the Welfare Fund an estimated amount of at least $43,100.00,

due under the Labor Contract in contributions.
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25. The Employer owes the Welfare fund the sum of $2,046.39 in interest demanded
but not paid for the months of February 2019, March 2019, April 2019, and May 2019,

WHEREFORE, Plaintiffs ask that the Court:

(1) Enter judgment against the Employer and in favor of the Pension Fund for at least
$19,006.16, in favor of the Annual Fund for at least $5,032.12, and in favor of the Welfare Fund
for at least $45,146.39, plus any delinquencies incurred during the pendency of this action, together
with liquidated damages, interest and costs, including reasonable attorneys’ fees incurred in this
action or the collection or enforcement of any judgment as provided in the Labor Contract or Trust
Agreement.

(2) | Grant such other or further relief, legal or equitable, as may be just, necessary or
appropriate.

COUNT II
CONTRIBUTIONS UNDER ERISA — SUM CERTAIN

26. The allegations of Paragraphs 1 through 25 are incorporated by reference as if fully
restated.

27. | The Employer has failed to pay contributions to the Funds in violation of 29 U.S.C.
§1145,

28. | The Employer owes the Pension Fund at least the sum of $18,400.00; as well as the
Annual Fund at least the sum of $5,000.00 and the Welfare Fund at least the sum of $43,100.00 in
contributions, interest, and liquidated damages due under the Labor Contract. In addition,
Employer has failed to submit remittance reports in violation of the labor contract and trust

agreements.

WHEREFORE, Plaintiffs ask that the Court:
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(1) Enter judgment against the Employer and in favor of the Pension Fund for at least
$18,400.00, in favor of the Annual Fund for at least $5,000.00, and in favor of the Welfare Fund
for at least $43,100.00 plus any additional contributions incurred during the pendency of this
action, together with interest, liquidated damages provided by the documents governing the Funds
or ERISA 29 U.S.C. §1132(g)(2) and reasonable attorneys’ fees and costs incurred in this action
or the collection or enforcement of any judgment.

(2) Grant such other or further relief, legal or equitable, as may be just, necessary, or
appropriate.

COUNT III
AUDIT

29. The allegations of Paragraphs | through 28 are incorporated by reference as if fully
restated.

30. | The Employer is obligated to permit the Funds to audit the Employer’s records and
to cooperate in determining the contributions due the Funds.

31. | The amount of contributions the Employer is required to pay to the Funds is based
upon hours worked and wages paid to employees performing work covered by the Labor Contract.

32. The Funds are without sufficient information or knowledge to plead the precise
nature, extent and amount of the Employer’s delinquency since the books, records and information
necessary to determine this liability are in the exclusive possession, custody and control or
knowledge of the Employer. In addition, an audit is warranted due to the chronic late payments
made by the Employer.

33. | Computation of the precise amount of an Employer’s delinquency is normally
achieved by an audit of the Employer’s books and records and/or calculated from contractually

required remittance reports submitted by the Employer.
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34, | The Employer is required by the Labor Contract, Trust Agreements or applicable
law to permit the Funds to audit its records and to cooperate in determining the contributions due
the Funds.

35. | The Funds have no adequate remedy at law for the calculation of any damages
suffered as a result of the Employer’s failure to cooperate.

36. All conditions precedent to equitable relief have been satisfied.

WHEREFORE, Plaintiffs ask that the Court:

(a) Enjoin the Employer, the Employer’s officers, agents, servants, employees,
attorneys and all others in active concert or participation with it to permit an audit of all records
under the actual or constructive control of the Employer and, in the absence of records, to cooperate
in alternative methods for the determination of work for which contributions are due, and;

(b) Grant such other or further relief, legal or equitable, as is just, necessary or
appropriate.

COUNT IV
CONTRIBUTIONS UNDER CONTRACT AFTER AUDIT

37. The allegations of Paragraphs | through 36 are incorporated by reference as if fully
restated.

38. | On information and belief, the Employer has failed to make contributions to the
Funds as required by its Labor Contract or Trust Agreements in a period not barred by any
applicable statute of limitations or similar bar.

39. On information and belief, the Funds have been damaged by the failure of the
Employer to make contributions as required by its Labor Contract or Trust Agreements.

WHEREFORE, Plaintiffs ask that the Court:
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(a) After an audit, enter judgment against the Employer in favor of the Funds for the
amount of contributions found due and owing by an audit together with liquidated damages,
interest and costs, including reasonable attorneys’ fees incurred in this action or the collection and
enforcement of any judgment, as provided in the Labor Contract or Trust Agreements.

(b) Grant such other or further relief, legal or equitable, as may be just, necessary or
appropriate.

COUNT V
CONTRIBUTIONS UNDER ERISA AFTER AUDIT

40. The allegations of Paragraph | through 39 are incorporated by reference as if fully
restated.

41. | On information and belief, the Employer has failed to make contributions to the
Funds in violation of 29 U.S.C. § 1145 ina period not barred by an applicable statute of limitations
or similar bar.

42. The Plaintiffs are without sufficient information or knowledge to plead the precise
nature, extent and amount of the Employer’s delinquency since the books, records and information
necessary to determine this liability are in the possession, control or knowledge of the Employer.

43. On information and belief, the Funds have been damaged by the Employer’s
violation of 29 U.S.C. §1145.

WHEREFORE, Plaintiffs ask that the Court:

(a) After an audit, enter judgment against the Employer in favor of the Funds for
contributions found due and owing by the audit, together with interest at the rate prescribed by 26
U.S.C. §6621 from the due date for payment until the date of actual payment, liquidated damages

equal to the greater of the interest on the unpaid contributions or liquidated damages provided by

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the plan document or statute and reasonable attorneys’ fees and costs incurred in this action and in
connection with any proceedings to enforce or collect any judgment.
(b) Grant such other or further relief, legal or equitable, as may be just, necessary or
appropriate.
Respectfully submitted,

FREEDMAN AND LORRY, P.C.

» Setlbhy

SUSAN A. MURRAY, ESQUIRE
Attorneys for Plaintiffs

 

Date: August 20, 2019

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